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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 FRIDA KAHLO CORPORATION,

          Plaintiff,                                         Case No.: 1:19-cv-06386

 v.                                                          Judge Charles P. Kocoras

 THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge Sidney I. Schenkier
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                   DEFENDANT
                 579                                    The curtain
                 379                                 Anime Clock World
                 313                                    loveningbaby18
                 253                                       annycraft
                 332                                       sll5901-5
                 244                                     2011-christmas
                 245                                     2014superstore


DATED: October 30, 2019                               Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
                                                      111 West Jackson Boulevard, Suite 1700
                                                      Chicago, Illinois 60604
                                                      Telephone: 312-675-6079
                                                      E-mail: keith@vogtip.com
   Case: 1:19-cv-06386 Document #: 28 Filed: 11/01/19 Page 2 of 2 PageID #:10935




                                                     ATTORNEY FOR PLAINTIFF




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on October 30, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
